                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN

UNITED STATES OF AMERICA,
                     Plaintiff,
              -vs-                                    Case No. 96-Cr-4

JERRY WALKER,
                     Defendant.

                                      ORDER


              This matter comes before the Court on Jerry Walker’s pro se filing

[ECF Doc. 556] requesting a sentence reduction under Amendment 782 pursuant to 18

U.S.C. § 3582(c)(2).     The Federal Defender Services has declined to represent the

defendant. The government shall respond to this motion within 30 days of the date of

this Order.

              Dated at Milwaukee, Wisconsin, this   10th    day of November, 2015.

                                              BY THE COURT:


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                                              HON. RUDOLPH T. RANDA
                                              U.S. District Judge




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